Case 1:23-cv-00108-LMB-JFA Document 1203-13 Filed 08/23/24 Page 1 of 4 PageID# 89153




                           Exhibit 11
  Case 1:23-cv-00108-LMB-JFA Document 1203-13 Filed 08/23/24 Page 2 of 4 PageID# 89154
  Message
  From:          Jenni Stein Lidiekneite@google.com]
  Sent:          7/22/2019 10:32:20 PM
  To:            jdischler@google.com
  Subject:       [The Weekly Briefing] July 22, 2019




  This newsletter is for Google VPs, Directors and Site Leads only. Do not forward this note. Any information shared
  in the Weekly Briefing about financial data, our products, business partners, vendors, or clients, and other non-public
  proprietary business information or trade secrets should not be shared outside Alphabet. Leaks will result in discipline, up
  to and including termination.

  External News + Issues
  News + Launches
  (Note: Launches slip. Don't assume one is out until you see it's out.)

  Google for Nigeria: From today until July 25, we'll host the third Google for Nigeria event in Lagos, aimed at
  demonstrating our commitment to users in Nigeria and SSA. At the event we'll announce Gallery Go, a fast and smart
  photo gallery designed to run offline, and we'll launch our first African-focused food exhibit, celebrating Nigeria's vibrant
  food scene.

  Maps: Today, we published a blog post about how our Maps technology works.

  YouTube Fuji Rock Festival Japan: Today, we announced this year's Fuji Rock Festival global livestream, featuring a
  diverse lineup of both Japanese and international artists.

  Area 120 / Nines: Today, we quietly began testing for Area 120 project, Nines, a site that allows you to shop looks worn
  by select influencers.

  VMware on GCP: This week, Google Cloud and VMware will announce that VMware will run on GCP via partner
  CloudSimple.

  Google Lens: On Tuesday, July 23, we are expanding Lens in Google Images to all Search languages and locales.

  Veterans and Google for Startups: On Tuesday, July 23, Google for Startups will announce a continued commitment to
  the military community through new partnerships with companies that support transitioning service members.

  Bay Area: On Wednesday, July 24, HTSV will announce our $SOM investment in their TECH Fund. This is our first
  investment from our $250M affordable housing fund that we announced as part of our $1 B housing commitment.

  Android: On Wednesday, July 24, we'll announce new features on Sound Amplifier, an Android Accessibility tool.

  Nest: On Wednesday, July 24, we'll celebrate the 6th anniversary of Chromecast by revealing new secrets about the
  streaming device. Later in the week, we'll announce a partnership between the Christopher & Dana Reeve Foundation
  and Google Nest. We're donating 1DOK Google Home Minis to people living with paralysis to offer help with daily tasks
  around their homes (US only).

  Earnings: On Thursday, July 25, Sundar and Ruth will host our Q2 earnings call.

  Search: On Thursday, July 25, we'll launch Swipe to Visit in Google Images, which uses AMP to let you quickly "swipe" to
  view the web page of an image you're viewing on your phone.




HIGHLY CONFIDENTIAL                                                                                          GOOG-DOJ-09024203
  Case 1:23-cv-00108-LMB-JFA Document 1203-13 Filed 08/23/24 Page 3 of 4 PageID# 89155
  Maps Marketing Campaign in APAC: Starting Thursday, July 25, we'll start marketing Google Maps for mobile towards
  Chinese tourists outside of China, namely in HK and Japan.

  Wi-Fi SMT: On Thursday, July 25, we'll hold a satellite media tour to demystify Wi-Fi and how it works, while sharing
  ways Google Wifi can help solve some of the most common connectivity problems.

  Assistant: On Friday, July 26, we'll announce that we're expanding the new visual update for the Assistant on Android
  phones to France, Italy, Germany, and Spain.

  Top Issues
  China Allegations: Last week, Peter Thiel accused Google of being 'treasonous' and urged the FBI to investigate our
  alleged work with the Chinese military. We reaffirmed that we do not work with the Chinese military and rebutted these
  claims.

  Washington Post & Ars on Chrome extensions: Last week, The Washington Post and ArsTechnica published stories
  about Chrome extensions that collect personal data and browser traffic, and provide it to analytics company, Nacho
  Analytics. We took the extensions down.

  Senate Judiciary Hearing: Last week, Karan Bhatia published an op-ed on FoxNews.com refuting allegations that
  Google is politically biased. The op-ed was a preview for Karan's testimony at a Senate Judiciary Subcommittee hearing
  on conservative bias.

  House Judiciary Hearing: Last week, Google's Adam Cohen testified with Apple, Amazon, and Facebook in front of the
  House Antitrust, Commercial, and Administrative Law Subcommittee in a hearing titled, "Online Platforms and Market
  Power, Part 2: Innovation and Entrepreneurship."

  Age Discrimination Settlement: Last Friday, our settlement in Heath became public.

  Internal News

  Company-wide Meetings
  TGIF Recap -Ads+ ML and Cloud Outage Postmortem: Last week at TGIF, Ben Treynor Sloss shared a post-mortem
  on the Cloud Reliability Reset and recent Cloud outages. Then, the Ads team explained the exciting ways that they use
  ML to create more impactful Google Ads. For a quick recap in 6 minutes head to go/TGIFrecap.

  Upcoming Meetings
  7/25: Google TGIF (TBD)
  8/1: Social TGIF

  What Googlers are talking about
  A roundup of what Goog/ers are talking about on Eng Misc., Memegen, G+, etc.

  •
  •       Leaker, identified: Chris Rackow announced that the person responsible for some recent leaks had been
  found and no longer works at the company (well, the literal among us are still debating the finer points). The news left
  many Googlers wondering about which leaks might be connected in this case .


  •
  •       Why don't Hangouts ... hang out longer?: Googlers lamented that Hangouts chats aren't available to
  reference for longer periods of time, and when the question came up at TGIF, Sundar agreed to look into it with the
  team .


  •
  •       Memegen forecast? Still partly Cloud-y: It's tough to please everyone when it comes to large mandatory
  meetings. Some Cloud engineers are still expressing frustration about the Cloud reliability reset, while Googlers outside
  of Cloud wanted to know why they weren't invited and why they couldn't access go/reliability-reset from the outset.




HIGHLY CONFIDENTIAL                                                                                        GOOG-DOJ-09024204
  Case 1:23-cv-00108-LMB-JFA Document 1203-13 Filed 08/23/24 Page 4 of 4 PageID# 89156
  Following up on the team's reliability-related TGIF preso, Urs posted a response sharing some lessons learned about
  the logistical challenges the team faced with such an undertaking .


  •
  •     Notable departure: Google rs called out that most of the organizers of last year's Walkout have left the
  company, with some employees taking note of Meredith Whitaker's decision to leave Google this week .


  •
  •       Customs and Border Patrol: A maven-co thread covers Cloud's potential work with CBP. The group is
  organizing an "internal awareness campaign" and are discussing taking this off corporate channels. Discussions
  generated a few memes (1, g, ~ and a question in the TGIF Dory. We expect this concern to carry over to next week's
  TGIF or TWR if it doesn't make it in this week's show.

  Memes of the Week
  Some of our favorite internal memes from the last week.




                                                            ###

                                   Comments, ideas, feedback? Your input is encouraged.




HIGHLY CONFIDENTIAL                                                                                     GOOG-DOJ-09024205
